Case 9:16-bk-11564-DS            Doc 62 Filed 11/17/20 Entered 11/17/20 08:59:06                      Desc
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                              UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                 NORTHERN DIVISION DIVISION


IN RE:                                                        CASE NO. 9:16-bk-11564-DS
                                                              CHAPTER 13
Norma Angelica Centina
                                                              JUDGE DEBORAH J. SALTZMAN

         DEBTOR                                               NOTICE OF FINAL CURE PAYMENT


Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Elizabeth F. Rojas
files this Notice of Final Cure Payment. The amount required to cure the default in the claim listed
below has been paid in full.

Name of Creditor: SN SERVICING CORPORATION


Final Cure Amount

Trustee Account                                  Claim               Claim               Amount
Claim # Number                                   Asserted            Allowed             Paid

1         2246                                   $0.00               $60,457.27          $60,457.27

Total Amount Paid by Trustee                                                             $60,457.27


Monthly Ongoing Mortgage Payment

Mortgage is Paid:

      Through the Chapter 13 Conduit                      X    Direct by the Debtor


Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the
Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor
has paid in full the amount required to cure the default on the claim; and 2) whether the Debtor is
otherwise current on all payments consistent with 11 U.S.C. § 1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.


Date: November 17, 2020                                        /s/ Elizabeth F. Rojas
                                                               Elizabeth F. Rojas
                                                               Chapter 13 Trustee
                                                               15260 Ventura Blvd.
                                                               Suite 710
                                                               Sherman Oaks, CA 91403
        Case 9:16-bk-11564-DS                   Doc 62 Filed 11/17/20 Entered 11/17/20 08:59:06                                     Desc
                                                 Main Document Page 2 of 2
 In Re: Norma Angelica Centina                                                                 Chapter 13

                                                                               Debtor(s)       Case Number: 9:16-bk-11564-DS


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
15260 Ventura Blvd., Suite 710, Sherman Oaks, CA 91403


A true and correct copy of the foregoing document entitled: NOTICE OF FINAL CURE PAYMENT will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005 -2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
11/17/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

UNITED STATES TRUSTEE (ND): USTPREGION16.ND.ECF@USDOJ.GOV
FINANCIAL RELIEF LAW CENTER: ABILLYARD@BWLAWCENTER.COM

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 11/17/2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

NORMA ANGELICA CENTINA, 804 NOONTIDE WAY, OXNARD, CA 93035
SN SERVICING CORPORATION, 323 5TH STREET, EUREKA, CA 95501

                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL :
Pursuant to F.R.Civ.P.5 and/or controlling LBR, on 11/17/2020, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method ), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

HONORABLE JUDGE DEBORAH J. SALTZMAN - VIA OVERNIGHT MAIL

                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


11/17/2020                   Marina Ortiz                                                     /s/ Marina Ortiz
 Date                        Printed Name                                                       Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

 June 2012
                                                                                                F 9013-3.1.PROOF.SERVICE
